               Case 2:21-mc-00011-RSM Document 3 Filed 02/18/21 Page 1 of 3




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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
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      IN RE: BRENDA JOYCE LITTLE,                       CASE NO. MC21-0011RSM
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                     Plaintiff.                         ORDER RE: PROPOSED COMPLAINT
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13          This matter comes before the Court on the pleading received from Plaintiff entitled

14   “Complaint for Damages and Jury Trial.” Dkt. #1. The filing is accompanied by a cover letter,

15   findings of fact and conclusions of law, articles of impeachment, request for audience, and a
16   document on the Minnesota Multiphasic Personality Inventory elements.
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            Plaintiff is currently under a Pre-Filing Bar Order entered on December 12, 2013 related
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     to successive litigations against the State of Washington and the Washington State Bar
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     Association (“WSBA”). Little v. Washington State, C13-1284RSL, Dkt. # 57. Pursuant to the
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21   Bar Order, all of Plaintiff’s pro se complaints in this district are subject to review by the Court

22   prior to issuance of summons or service of process. The Bar Order states as follows:

23          The proposed complaint shall comply with Fed. R. Civ. P. 8(a) and provide a clear
            statement of the factual and legal basis for each claim asserted and specifically
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            identifying each defendant against whom the claim is asserted. The proposed
25          complaint shall be accompanied by a signed statement explaining, on a
            claim-by-claim basis, (a) whether each claim was raised in any prior action (with
26          an appropriate citation) and (b) why each claim is not barred by the doctrine of res
            judicata and/or the applicable immunity.



     ORDER RE: PROPOSED COMPLAINT – 1
               Case 2:21-mc-00011-RSM Document 3 Filed 02/18/21 Page 2 of 3




 1   Id. at 5. The Bar Order provides that “[i]f the court determines that good cause has not been
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     shown, the action will be dismissed sua sponte without further notice.” Id.
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            On January 28, 2021, Plaintiff, acting pro se, filed a complaint alleging civil rights and
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     constitutional violations by the State of Washington. Dkt. #1. Plaintiff brings this complaint
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 6   under (1) the First, Fourth, Fifth, Sixth, Seventh and Fourteenth Amendments of the U.S.

 7   Constitution; (2) civil rights statutes, 42 U.S.C. §§ 1983, 1985, 1986; (3) the Americans with

 8   Disabilities Act; (4) the Rehabilitation Act of 1973, 29 U.S.C. § 794; and (5) various claims
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     including fraudulent inducement, practicing medicine without a license, and Article III of the
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     U.S. Constitution. Id. at 1-2, 7-13. Although the complaint only names the State as a defendant,
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     it references various individuals related to Plaintiff’s disbarment from the WSBA and state and
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     federal judges who decided cases related to her disbarment. In addition to medical expenses,
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14   attorney’s fees, and dismissal of her WSBA disbarment, Plaintiff requests damages totaling $15

15   million dollars for each year the State engaged in unlawful discrimination, failure to protect her,
16   and infliction of emotional distress. Id. at 13.
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            Having reviewed Plaintiff’s filing and the documents attached thereto, the Court finds
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     that Plaintiff has not shown good cause for this case to proceed. Plaintiff’s complaint does not
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     satisfy the basic notice pleading requirements of Fed. R. Civ. P. 8, as it fails to support each cause
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21   of action with specific facts presented in a clear and understandable manner. It is difficult to

22   identify which causes of action correspond with the various individuals named throughout the

23   pleading or how the instant claims differ from those already considered and dismissed in previous
24   actions. The complaint also does not provide the claim-by-claim statement required under the
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     Pre-Filing Bar Order.
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     ORDER RE: PROPOSED COMPLAINT – 2
               Case 2:21-mc-00011-RSM Document 3 Filed 02/18/21 Page 3 of 3




             For the reasons set forth above, the Court concludes that the documents submitted on
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 2   January 28, 2021, Dkt. #1, shall not be permitted to proceed. The Clerk shall provide copies of

 3   this order to Plaintiff.

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             Dated this 18th day of February, 2021.
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                                                  RICARDO S. MARTINEZ
10                                                CHIEF UNITED STATES DISTRICT JUDGE
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     ORDER RE: PROPOSED COMPLAINT – 3
